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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, EASTERN DIVISION


UNITED STATES OF AMERICA           )
                                   )       CRIMINAL ACTION NO.
       v.                          )          3:12cr177-MHT
                                   )               (WO)
CHARLES GREGORY DUNN               )

                                ORDER

       Upon consideration of the forensic evaluation (doc.

no. 92), and based on the representations made on the

record on September 14, 2020, by both defense counsel

and the supervising probation officer that they do not

recommend      psychotherapy       because        defendant    Charles

Gregory Dunn appears to be doing well, it is ORDERED

that    the   court   will   not    impose    a    requirement     that

defendant Dunn receive therapy.

       DONE, this the 16th day of September, 2020.

                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE
